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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   DECLARATION OF AMY MASON SAHARIA
16                                             )   IN SUPPORT OF MS. HOLMES’ RENEWED
       v.                                      )   MOTION TO ADMIT CERTAIN CUSTOMER
17                                             )   FEEDBACK REPORTS
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )
                                               )   Hon. Edward J. Davila
19          Defendants.                        )
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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ RENEWED
     MOTION TO ADMIT CERTAIN CUSTOMER FEEDBACK REPORTS
     CR-18-00258 EJD
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 1          I, AMY MASON SAHARIA, declare as follows:

 2          1.     I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice

 3 in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Renewed Motion to

 4 Admit Customer Feedback Reports. I attest to the following facts upon which the Motion relies.

 5          2.     Attached to this declaration are 10 exhibits. The contents of the exhibits are as follows:

 6                 a.      Exhibit 1 is a true and correct copy of TX 7476, an email dated October 1, 2014

 7 between Jeffrey Blickman, Elizabeth Holmes, Sunny Balwani, Daniel Edlin, and others, as well as the

 8 attachment to that email. This exhibit contains redactions to avoid revealing personal identifying

 9 information.

10                 b.      Exhibit 2 is a true and correct copy of TX 7557, an email from Ryan Karpel to

11 Elizabeth Holmes and Daniel Edlin, dated May 31, 2015, as well as the attachment to that email. This

12 exhibit contains redactions to avoid revealing personal identifying information.

13                 c.      Exhibit 3 is a true and correct copy of TX 7561, an email from Ryan Karpel to

14 Elizabeth Holmes and Daniel Edlin, dated June 7, 2015, as well as the attachment to that email. This

15 exhibit contains redactions to avoid revealing personal identifying information.

16                 d.      Exhibit 4 is a true and correct copy of TX 7571, an email from Ryan Karpel to

17 Elizabeth Holmes and Daniel Edlin, dated June 28, 2015, as well as the attachment to that email. This

18 exhibit contains redactions to avoid revealing personal identifying information.

19                 e.      Exhibit 5 is a true and correct copy of TX 7573, an email from Ryan Karpel to

20 Elizabeth Holmes and Daniel Edlin, dated July 5, 2015, as well as the attachment to that email. This

21 exhibit contains redactions to avoid revealing personal identifying information.

22                 f.      Exhibit 6 is a true and correct copy of TX 7575, an email from Ryan Karpel to

23 Elizabeth Holmes and Daniel Edlin, dated July 12, 2015, as well as the attachment to that email. This

24 exhibit contains redactions to avoid revealing personal identifying information.

25                 g.      Exhibit 7 is a true and correct copy of TX 7576, an email from Ryan Karpel to

26 Elizabeth Holmes and Daniel Edlin, dated July 19, 2015, as well as the attachment to that email. This

27 exhibit contains redactions to avoid revealing personal identifying information.

28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ RENEWED
   MOTION TO ADMIT CERTAIN CUSTOMER FEEDBACK REPORTS
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             Case 5:18-cr-00258-EJD Document 1141 Filed 11/12/21 Page 3 of 3




 1                 h.      Exhibit 8 is a true and correct copy of TX 7579, an email from Ryan Karpel to

 2 Elizabeth Holmes and Daniel Edlin, dated August 9, 2015, as well as the attachment to that email. This

 3 exhibit contains redactions to avoid revealing personal identifying information.

 4                 i.      Exhibit 9 is a true and correct copy of TX 7583, an email from Ryan Karpel to

 5 Elizabeth Holmes and Daniel Edlin, dated August 16, 2015, as well as the attachment to that email. This

 6 exhibit contains redactions to avoid revealing personal identifying information.

 7                 j.      Exhibit 10 is a true and correct copy of TX 7586, an email from Ryan Karpel to

 8 Elizabeth Holmes and Daniel Edlin, dated August 23, 2015, as well as the attachment to that email. This

 9 exhibit contains redactions to avoid revealing personal identifying information.

10          I declare under penalty of perjury under the laws of the United States that the foregoing is true

11 and correct to the best of my knowledge.

12          Executed this 12th day of November 2021 in Chevy Chase, MD.

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15                                                        AMY MASON SAHARIA
                                                          Attorney for Elizabeth Holmes
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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ RENEWED
   MOTION TO ADMIT CERTAIN CUSTOMER FEEDBACK REPORTS
   CR-18-00258 EJD
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